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             IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

ISAIAH HUMPHRIES,                              Case No.: 4:20-CV-00064-MWB

                         Plaintiff,

v.

DAMION BARBER,

                         Defendant.


        STIPULATION TO CONVENE REMOTE DEPOSITION OF
                      MAKENZIE PETERS
      IT IS HEREBY STIPULATED AND AGREED, pursuant to F.R.C.P. No.

30, by and between the undersigned counsel, Steven F. Marino, Esquire, on behalf

of Plaintiff, and Anthony G. De Boef, Esquire, on behalf of Defendant

Damion Barber, subject to the approval of the Court, that the deposition of

Makenzie Peters is to be convened remotely, via Zoom Video Communications.

MARINO ASSOCIATES                         DE BOEF LUCCHESI                AND
                                          ASSOCIATES, P.C.
 /s/ Steven F. Marino
STEVEN F. MARINO, ESQUIRE                 ANTHONY G. DE BOEF, ESQUIRE
Attorney for Plaintiff                    Attorney for Defendant Damion Barber


Date: 03/10/23                            Date: 3/10/23



                                                 APPROVED BY THE COURT:

DATE:
                                                                         J.
